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                       UNITED STATES COURT OF APPEALS                        MAR 17 2011

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                               FOR THE NINTH CIRCUIT                      U .S. C O U R T OF APPE ALS




 MARK BAKER,                                      No. 11-35113

                 Plaintiff - Appellant,           D.C. No. 3:10-cv-05927-RJB
                                                  Western District of Washington,
   v.                                             Tacoma

 CITY OF EDGEWOOD; et al.,
                                                  ORDER
                 Defendants - Appellees.



Before: LEAVY, TASHIMA, and BYBEE, Circuit Judges.

        A review of the record demonstrates that this court lacks jurisdiction over

this appeal because the orders challenged in the appeal are not final or appealable.

See 28 U.S.C. § 1291; Wilborn v. Escalderon, 789 F.2d 1328 (9th Cir. 1986)

(denial of appointment of counsel in civil case is not appealable); see also Branson

v. City of Los Angeles, 912 F.2d 334, 336 (9th Cir. 1990) (denial of reconsideration

of non-appealable order is itself not appealable). Consequently, this appeal is

dismissed for lack of jurisdiction.




MF/Pro Se
